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                  Ranger Disciplinary Process
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Introduction
The Ranger Council must sometimes make the difficult decision to discipline a Ranger because of
ongoing issues or a single serious instance of failure to follow the policies that support our mission.
Generally these issues concern the safety of participants, regard for laws, unreasonable consumption
of department resources, or conduct as a member of the Ranger Department.



Ethos
We take the decision to discipline a Ranger very seriously and hold ourselves to high standards of
ethical conduct. We make every effort to acknowledge the needs and the feelings of all affected
parties, conduct an investigation, examine our own biases and personal relationships with anyone
involved, and determine the outcome that we believe is most appropriate under the circumstances. A
higher level of discipline is not chosen if we believe a lower level will appropriately address the
concern (see examples of disciplinary actions below).


Rangers are disciplined only when their behavior puts our mission at risk, and never for personal,
frivolous, or convenient reasons.


Examples of disciplinary actions
   ● Constructive counseling
    ●   Recorded warning
    ●   Removal from duty (per shift or remainder of event)
    ●   Removal from position or role
    ●   Suspension from duty, position, or role
    ●   Dismissal from department



Reporting
Usually disciplinary actions that result from an incident on playa are reported to Shift Command, an
Officer of the Day, or an Operations Manager, but many variations are possible. Sometimes the leads
of special teams report a problem with one of their team members.
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During the off-season, reports come to the Council through a number of sources, including from
participants directly, through the Regional contacts, from other Burning Man Staff, and from other
Rangers. These reports are directed to the Personnel Managers (ranger-personnel@burningman.org).


Rangers also have access to the online Ranger Feedback Form year-round, including at the computer
kiosks at Ranger Headquarters on playa.



Finding Out and Listening
For reports made on Playa, the respective Council Manager, OODs and/or Shift Command Team
assist the Personnel Manager by gathering as much information as possible about the incident.
Incidents on playa may result in immediate disciplinary actions, but these on-playa actions are
limited to suspension or removal from duty for a defined period, up to the remainder of the event.
Removal from the Ranger Department and other longer-term actions (determination that the Ranger
needs to take a defined amount of time off, removal from leadership roles, etc.) require the consensus
of the Ranger Council after the event cycle is over.


The Personnel Managers are responsible for post-event follow-up, as well as for investigating reports
of incidents that occur during the off-season. If appropriate, two Personnel Investigators (PIs) are
appointed to each case for the duration of the entire assignment, which allows for continuity over the
course of the investigation. Using our standard F.L.A.M.E framework, the interviews are conducted
of the initial reporter(s), witnesses, and the Ranger of inquiry and the findings documented.
Investigations include gathering information from logs, reports, conversations at the event, past
incidents, and any other sources available. These investigations include as many conversations and
other communications as necessary with the affected Ranger, witnesses, and other parties to ensure
all critical information is considered. All documentation is collected and PIs make recommendations
based on their findings to the Personnel Managers. The Personnel Managers are responsible for
providing updates about ongoing cases to the Ranger Council.


The Ranger Council discusses each incident, including all information gathered at the time, and
determines which incidents require additional investigation.



Analyzing
The Ranger Council further discusses the incident once the Personnel Managers have gathered
relevant information. All Council members must agree that there is enough information to make a
decision, or we return to Finding Out and Listening. If the Ranger Council members agree there is
sufficient information to make a decision, they consider the least drastic alternative they believe will
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appropriately and effectively address the behavior. The entire Ranger Council must come to
consensus on the status of an affected Ranger, and prefers to take the time necessary to ensure
alignment of the disciplinary action with the incident .



Mediation
Mediation can take multiple forms, such as:
   ●   Mediation between a Ranger and a participant
   ●   Mediation between two or more Rangers
   ●   Intradepartmental mediation (between one or more Rangers and the Ranger department)
   ●   Interdepartmental mediation (between one or more Rangers and staff outside the Ranger
       department)


During the mediation process, someone from the Personnel Team reaches out to the affected Ranger
to align on what happened and what needs to change.


For minor incidents, this conversation may be sufficient to realign expectations going forward.


For incidents warranting actions such as suspension or removal from the Ranger Department, two
members of the Ranger Council arrange for a phone or face-to-face conversation with the affected
Ranger to discuss the outcome, and follow up the conversation with a letter affirming the decision.
We do this because Rangers deserve to hear it directly from us, to offer the Ranger in question an
opportunity to ask questions, and simply to be there for them.


All incidents are documented in the Personnel records.


We also offer an ongoing point of contact in the Ranger Personnel Managers (ranger-
personnel@burningman.org); additionally, Burning Man HR (People/Operations) is available if the
affected Ranger does not feel fairly treated and wants to extend the conversation outside of the
Ranger Department.



Explaining
During the conversation with the affected Ranger, we make it clear that we will hold the outcome
and the conversation confidential to the extent possible. Depending on the severity of the incident,
we may involve the Burning Man Legal and People/Operation departments. Except in rare and public
cases, the only Rangers we inform are the members of the Ranger Operations Team, and we
summarize the incident with few details.
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The Council also provides an annual anonymized summary of the disciplinary actions that have been
taken in the last event cycle so that members of our department can see the types of incidents that
raise concerns and understand some of the consequences of those incidents. This summary of
disciplinary actions is stripped of all obviously identifying information about the persons involved.


The affected Rangers may share details of their case as they wish, while remaining mindful around
any consent issues of revealing personal information of others involved in the case.


One area we are exploring is our ethical obligation to share information with Regional organizations,
which make their own policies and decisions about who can be part of their communities and
volunteer groups. At present, we respond to requests for information from Regional organizations by
explaining our process and giving general examples of the kinds of behavior that would lead us to
remove a Ranger, but we do not discuss any specific details of what led to any particular decision.



Additional actions
When a Ranger is removed from the department, their access to Black Rock Ranger mailing lists and
the Secret Clubhouse is removed, their status in the Clubhouse is changed to Dismissed, and the
Cadre members of any impacted special teams are notified.


If the Ranger is a member of one or more special teams, the leadership group for those teams should
be informed of the dismissal.


If a Ranger is temporarily suspended, their access to Ranger email lists may be suspended at the
discretion of the Council.


Whether a Ranger is dismissed or temporarily suspended, we do not revoke access to any other email
lists hosted by Burning Man, including lists for other departments and local social lists about the
person's removal or suspension.


A summary of the decision is recorded in the Personnel Team’s disciplinary notes.


Requests for reconsideration
If a Ranger believes they have been unfairly dismissed from the department, they may within six
months of their dismissal submit a request for reconsideration to the Ranger Council. This request
can be in a written or recorded format (sound or video) and should detail any facts or circumstances
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that they believe would merit a change of the outcome, such as conflicting evidence or an
explanation why a lesser disciplinary action would be appropriate. Within 30 days of receipt, the
Council will review and respond to any such request. The Council, however, is under no obligation to
reopen the investigation. The Ranger requesting reconsideration may be invited to address the
Council as a whole to present the details of their request.



Taking responsibility and holding ourselves
accountable
Ultimately, we seek to find and support Rangers who exercise good judgment, so if we must consider
removal from the Department, we also examine our policies, practices, and any other factors that
contributed to the situation to look for any elements we can improve. This document is a part of that
process, and the conversation at the Council, Ops Team, and OOD/Shift Lead level around
disciplinary issues is ongoing.


On-Playa Disciplinary Process
Unlike extended personnel investigations which happen off-playa, rarely, the Ranger department
needs to act quickly to resolve a disciplinary situation in the span of hours or days to prevent it from
recurring during the shift, or during the event. In those cases, Rangers may be de-shifted, or de-
lammed without an extended investigation, or the necessary involvement of Council.


Removal from a Shift (De-Shifting)
There are a variety of reasons to remove a Ranger from shift duty. Being relieved from duty can occur
when a Ranger is told to take a break and take care of themselves (“compassionate de-shifting”). This
is not necessarily a disciplinary situation, and is more often a health and safety one.


Un-Rangerly or questionable behavior may also result in a Ranger being removed from shift duty.
De-shifting can also happen when an incident has occurred that the Shift Lead, OOD, or Ranger
Managers feel needs further inquiry and believe that allowing the Ranger to stay on duty is not in the
best interest of that inquiry. Removal from a single shift need only involve the Shift Command Team.


Removal from Rangering the Event (De-Lamming)
De-lamming can be the result of a series of incidents or as a result of the seriousness of a single
incident. De-lamming requires the consensus of at least one Ranger Operations or Logistics Manager
and the Ranger Personnel Manager. The process will follow the on-playa chain of command to
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determine the appropriate Manager. For incidents that may also require the Ranger be removed from
the event itself, the same staff removal process which applies to all staff members will be used. The
staff removal process is available from the Personnel Managers.




Revision History:
   ● August 1, 2023: Added On-Playa Disciplinary Process from Ranger Manual
